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 UNITED STATES DISTRICT COURT
 FOR THE WESTERN DISTRICT OF NEW YORK


  BLACK LOVE RESISTS IN THE RUST, et al.,
  individually and on behalf of a class of all others
  similarly situated,

                            Plaintiffs,
                                                                No. 1:18-cv-00719-CCR
          v.

  CITY OF BUFFALO, N.Y., et al.,

                            Defendants.


                      PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO
                     COMPEL DISCOVERY AND FOR SANCTIONS AGAINST
                    DEFENDANT CITY AND ROBERT E. QUINN PERSONALLY

       PLEASE TAKE NOTICE that on a date to be set by the Court on or after October 21,

2021, Plaintiffs will move this Court for the following relief:

               1.     Pursuant to Fed. R. Civ. P. 16, 26, and 37, compelling the discovery, and order-

ing the procedures, set forth in the Proposed Order annexed hereto.

               2.     Pursuant to Fed. R. Civ. P. 37(a)(5)(A) and 37(d)(2)(C), awarding Plaintiffs their

costs and expenses of this motion plus the expenses Plaintiffs incurred by reason of Defendants’

failure to comply with this Court’s May 11, 2021 order regarding ECAC ESI production, in both

cases against Defendants and their counsel jointly.

               3.     Pursuant to 28 U.S.C. § 1927, awarding Plaintiffs additional monetary sanctions

against Robert E. Quinn, Esq., personally.

       In support of this motion, Plaintiffs file a Memorandum of Law and the Declaration of

Edward P. Krugman, with accompanying attachments. Plaintiffs affirm that they have in good faith
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conferred with Defendants in an effort to obtain relief without court action, but as set forth in detail

in the Krugman Declaration were not successful in doing so.

       Pursuant to Local Rule 7(a)(1), Plaintiffs hereby state that they intend to file and serve

reply papers. Pursuant to Local Rule 7(b)(2)(B), if the Court does not set deadlines by order, any

opposition will be due within fourteen days of today, and any reply papers will be due within seven

days of the filing of opposition papers.

Dated: September 28, 2021

Respectfully Submitted,

/s/ Keisha A. Williams                                  /s/ Edward P. Krugman
Joseph Keleman                                          Claudia Wilner
Keisha Williams                                         Edward Krugman
WESTERN NEW YORK LAW CENTER                             Anjana Malhotra
Cathedral Park Tower                                    NATIONAL CENTER FOR LAW
37 Franklin Street, Suite 210                           AND ECONOMIC JUSTICE
Buffalo, NY 14202                                       275 Seventh Avenue, Suite 1506
Tel: (716) 828-8415                                     New York, NY 10001
Fax: (716) 270-4005                                     212-633-6967
jkeleman@wnylc.com                                      wilner@nclej.org
kwilliams@wnylc.com                                     krugman@nclej.org
                                                        malhotra@nclej.org
/s/ Chinyere Ezie                                       /s/ Jordan Joachim
Chinyere Ezie                                           Jordan Joachim (admitted pro hac vice)
CENTER FOR CONSTITUTIONAL RIGHTS                        COVINGTON & BURLING LLP
666 Broadway, 7th Floor                                 620 Eighth Avenue
New York, NY 10012                                      New York, NY 10018
212-614-6475                                            212-841-1000
CEzie@ccrjustice.org                                    jjoachim@cov.com
                                    Attorneys for Plaintiffs




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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


 BLACK LOVE RESISTS IN THE RUST, et al.,
 individually and on behalf of a class of all others
 similarly situated,

                               Plaintiffs,
                                                                  No. 1:18-cv-00719-CCR
           v.

 CITY OF BUFFALO, N.Y., et al.,

                               Defendants.


                                  [PROPOSED] ORDER RE DISCOVERY

       Plaintiffs having moved to compel discovery by Defendants, and for related relief, it is

hereby ORDERED pursuant to Rules 16, 26, and 37 of the Federal Rules of Civil Procedure as

follows:

       1.              Form of Production. All production of electronically stored information (ESI) by

Defendant City of Buffalo (the “City”) shall include metadata at the same level of detail as was

produced on May 17 and May 31, 2021.

       2.              ESI Searches of Additional Custodians to Be Performed Now. The City shall per-

form searches of the ESI of the custodians set forth in this paragraph (the searches to include both

e-mails and other ESI), with the search terms indicated, and shall produce the responsive docu-

ments located thereby.

       (a)             Search Terms
                (i)           The search terms to be used consist of a set of “core terms,” which
                              apply to every custodian, plus additional custodian-specific terms as
                              set forth below.
                (ii)          Each of these terms includes certain equivalents, as set forth in Ex-
                              hibit A hereto.


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             (iii)          The “core terms” are check-point, road-block, impound, tint, tow,
                            discriminat, rac, profil, bias, revenue, road check, zero tolerance,
                            numbers, stop receipt/report, school/speed zone.
       (b)           Custodians
             •         Chief Carmen Menza: Core terms, plus housing, strike-force, hot
                       pocket, hotspot
             •         P.O. Robbin Thomas: Core terms, plus east side, traffic-stop, com-
                       plain*, Internal Affairs Department (IAD)
             •         P.O. William Macy: Core terms
             •         Deputy Comm’r Joseph Gramaglia: Core terms, plus traffic-stop, law-
                       suit, strike-force, summons, budget, hot pocket, hotspot, high crime,
                       violent crime, high visibility, traffic/roadway safety
             •         Michael DeGeorge: Core terms
             •         Insp. Robert Rosenswie: Core terms plus traffic-stop, strike-force, sum-
                       mons, Hy, Hassett, Zak.
             •         Insp. Harold McClellan: Core terms plus traffic-stop, strike-force, sum-
                       mons, Hy, Hassett, Zak.

Production under this paragraph shall be complete by                   , 2021.

       3.            Additional ESI Searches for Custodians Previously Searched. The City shall con-

duct additional searches of the ESI (both e-mail and non-e-mail) of custodians previously searched,

and produce the responsive documents located thereby, as follows:

                         Custodians                          Search Terms
              Brown, Lockwood,                school/speed zone, zero tolerance, numbers,
              Rinaldo, Serafini, Young        stop receipt/report, traffic/roadway safety,
                                              Hy, Hassett, Zak

              Helfer, Morgera, Russo,         school/speed zone, zero tolerance, numbers,
              Wilcox, McLean, Burke,          stop receipt/report
              Quinn, Strobele

              Derenda, Brinkworth             High visibility, zero tolerance, numbers,
                                              Hy, Hassett, Zak
              Mann, Beatty, Roberts           High visibility, zero tolerance, numbers

Production under this paragraph shall be complete by                      , 2021.




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       4.      ESI Production for Witnesses Who Will Be Deposed. If any of the individuals

listed in this paragraph becomes a deposition witness, the City shall search for such witness’s ESI

(e-mail and non-e-mail) and shall produce responsive documents no later than three weeks before

the deposition. Inclusion of an individual in this paragraph says nothing, one way or the other,

about whether that individual will in fact be deposed; it simply sets forth the ESI search parameters

for the witness in the event the deposition is scheduled.

       (a)     The individuals are Officers M. Acquino, Domaracki, M. Healy, Hy, Hassett,
               Whiteford, Wigdorski, Tedesco, and Miller, and Chief Barba.
       (b)     For all individuals except Chief Barba, the search terms are the core terms plus
               east-side, traffic-stop, complain*, and Internal Affairs Department (IAD).
       (c)     For Chief Barba, the search terms are the core terms plus housing, strike-force,
               hot pocket, hotspot, complain*.

       5.      Drafts of JAG Applications: The City shall search for drafts of the applications for

Judicial Assistance Grants for the period 2011 to the present, as well as e-mails or other corre-

spondence relating to the drafting process, and shall produce such non-privileged documents

and/or ESI as are located. The search shall be limited to the physical and electronic files of

Maureen Oakley and any other physical or electronic files specifically identified to the JAGs. Pro-

duction under this paragraph shall be complete by             , 2021.

       6.      ECAC Project Files. The City shall complete production by               , 2021, of all

Erie Crime Analysis Center files for projects identified as having been performed for a Chief-level

or higher official of the BPD. Production shall include, as to each project, identification of the

project and the BPD official for whom was conducted. The City shall supply the same data for

projects as to which production has already been made.

       7.      ECAC E-mail Production. The City shall make production as follows from all

ECAC-related e-mail accounts to which it has access:



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       (a)     Custodians:
                   •     Wrona
                   •     Schellinger
                   •     Billanti
                   •     Giammaresi

       (b)     Scope:
                   •     e-mails to or from BPD e-mail addresses hitting the search terms
                         below
                   •     internal e-mails between any of the three analysts and Mr. Giam-
                         maresi hitting any of those search terms
       (c)     Search terms:
                   •     full original set, plus
                   •     hot pocket, hot spot, high visibility, zero tolerance, road check,
                         roadway safety, traffic

The City shall complete ECAC e-mail production no later than                 , 2021. Production shall

include all responsive e-mails from Jamie.giammaresi@dcjs.state.ny.us unless by                , 2021,

the City submits an affidavit stating that it does not have, and never has had, access to that account.

       8.      The City shall, by              , 2021, complete production of any paper or electronic

files specifically identified to any of the iterations of the GIVE (Gun-Involved Violence Elimina-

tion) program, or its predecessor IMPACT program, that were maintained by regular attendees at

the periodic GIVE or IMPACT meetings.

       9.      ENTCAD Database. In order to permit Plaintiffs to assess the need for further pro-

duction, and in light of the City’s representation that there is no field list or coding manual for the

ENTCAD (Dispatch) database, the City shall, no later than                      , 2021, produce every

entry in the ENTCAD database for (a) June 24, 2015 and (b) April 27, 2017. Production shall be

on an attorneys’-eyes-only basis and shall be used by Plaintiffs’ counsel solely for the purpose of

determining the scope of overall production to be sought from the database. If, within 30 days after


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production of the two sample days, the parties are unable to reach agreement on the scope of over-

all production to be made from the ENTCAD database, the matter shall be submitted to the Court

on papers for resolution.

         10.   Housing Unit/Strike Force Overtime Reports. The City shall complete production

of all such reports (January 1, 2012 to the present) no later than          , 2021.

         11.   Native Production of Prior .pdfs. To the extent, but only to the extent, that e-mails

produced as .pdfs prior to May 17, 2021 have been segregated and are available without needing

to redo the searches that led to their production, the City shall re-produce those e-mails in native

format, including attachments and metadata, together with an affidavit describing in general terms

which e-mails met the availability criteria of this paragraph and which did not.

         12.   RFP ##97-99. For each current or former BPD employee whom Plaintiffs depose

in this action, the City shall search for, and produce no later than seven days before the deposition,

all documents responsive to Requests 97-99 that relate to that witness, provided that Requests 97(i)

and 97(ii) are limited to complaints and BPD misconduct investigations concerning racial profil-

ing, biased policing, checkpoints, towing/impound, and traffic enforcement.

Dated:                2021



                                                       United States District Judge




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                             EXHIBIT A TO ORDER RE DISCOVERY

Each of the search terms below includes the equivalents listed.

         Search Term                                          Includes
bias                           bias, biased
BPD-HU                        BPD-HU, HU
budget                         budget, budgets, budgetary
camera                        camera, cameras
check-point                    check-point, checkpoint, check point, checkpoints, check points
complain*                     complain, complainant, complained, complaint, complaints, complt
crackdown                     crackdown, crack down
discriminat                    discriminate, discriminates, discriminated, discriminatory, discrim-
                               ination
east-side                      eastside, east side
Erie Crime Analysis Center Erie Crime Analysis Center, ECAC
(ECAC)
high crime                    high crime, high-crime, highcrime
high visibility               high visibility
hot pocket                    hotpocket, hot pocket, hotpockets, hot pockets
Hotspot                       hotspot, hot spot, hotspots, hot spots
housing                        housing
impound                        impound, impounds, impounded
Internal Affairs Department Internal affairs, IAD
(IAD)
law-suit                       lawsuit, law suit, lawsuits, law suits, law-suit
numbers                       numbers (plural only; “number” is not a hit)
profil                         profile, profiled, profiling
quota                          quota, quotas
rac                            race, racial, racist, racism
revenue                        revenue, revenues
road check                    road check, roadcheck, road checks, road check, road-check, road-
                              checks


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         Search Term                                       Includes
road-block                roadblock, road block, roadblocks, road blocks, road-block, road-
                          blocks
roadway safety            roadway safety, roadway-safety
safety-check              safety check, safety checks
school/speed zone         school zone, speed zone
stop receipt/report       stop receipt, stop receipts, stop report, stop reports
strike-force              strikeforce, strike force, SF, strike-force
summons                   summons, summonses
ticket                    ticket, tickets, ticketing
tint                      tint, tints, tinted
tow                       tow, towed
traffic safety            traffic safety, traffic-safety
traffic-stop              traffic stop, traffic stops
violent crime             violent crime, violent crimes
zero tolerance            zero tolerance




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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 28, 2021, the foregoing document was filed with the

Clerk of the Court and served in accordance with the Federal Rules of Civil Procedure, and/or the

Western District’s Local Rules, and/or the Western District’s Case Filing Rules & Instructions

upon all counsel registered through the ECF System.


                                            /s/ Edward P. Krugman




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